      Case 1:05-cr-01849-JCH           Document 701-2         Filed 10/16/06       Page 1 of 1

                     IN THE DISTRICT COURT OF THE UNITED STATES

                             FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                              )
                                                       )
                      Plaintiff,                       )
                                                       )       CRIMINAL NO. 05-1849 JH
               vs.                                     )
                                                       )
DANA JARVIS, et al.                                    )
                                                       )
                      Defendant.                       )

                     WRIT OF HABEAS CORPUS AD TESTIFICANDUM

THE PRESIDENT OF THE UNITED STATES OF AMERICA:

       TO:     Metropolitan Detention Center, 415 Roma NW, Albuquerque, New Mexico or,
               the United States Marshal or his authorized representative


                                           GREETINGS:

       You are hereby commanded to deliver the body of Jay Lambros, a prisoner in your custody

in Metropolitan Detention Center, 415 Roma NW, Albuquerque, New Mexico to the United States

Marshal or his Deputy, Albuquerque, New Mexico.

       You are hereby further commanded to deliver the body of said Jay Lambros to the United

States Marshal for the District of New Mexico or his representative on or before October 26, 2006,

for a motion hearing, said Jay Lambros to remain in the custody of the said United States Marshal

or his authorized representative until his presence is no longer required and then he is to be returned

to your custody.

       WITNESS the Honorable                       , Judge of the United States District Court for the

District of New Mexico, at Albuquerque, New Mexico, this            day of            .



                                                       MATTHEW DYKMAN, Clerk


UNITED STATES DISTRICT JUDGE
